



 





THIS OPINION HAS NO
  PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS PRECEDENT IN ANY
  PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

  
    
      
        
          South Carolina
          Department of Social Services, Respondent,
          
        
      
    
  

v.

  
    
      
        Jennifer N.,
          Macey D. N., and Robert H., Defendants,
          
        
        Of whom
          Jennifer N. is the Appellant.
          
        
        In the interest of two minor children. 
      
    
  


Appeal From Newberry County
John M. Rucker, Family Court Judge

Unpublished Opinion No. 2010-UP-565
  Submitted December 1, 2010  Filed
December 23, 2010&nbsp;&nbsp;&nbsp; 

AFFIRMED


  
    
      
        M. Rita Metts, of Columbia, for Appellant.
        Benjamin Lester Shealy, of Newberry, for
          Respondent.
        James N. Parr, Jr., of Newberry, for
          Guardian ad Litem.
      
    
  

PER CURIAM: Jennifer N. appeals from the family court's order terminating her
  parental rights to her minor children.&nbsp; See S.C.
  Code Ann. § 63-7-2570 (2010).&nbsp; Upon a thorough review of the record and the
  family court's findings of fact and conclusions of law pursuant to Ex Parte
    Cauthen, 291 S.C. 465, 354 S.E.2d 381 (1987), we find no meritorious issues
  warrant briefing.&nbsp; Accordingly, we affirm the family court's ruling.&nbsp;&nbsp; 
AFFIRMED.[1]
SHORT,
  WILLIAMS, and PIEPER, JJ., concur. 



[1] We decide this case without oral argument pursuant to
  Rule 215, SCACR.

